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                      Kevin J. Roberson, Ph.D.                           Forensic Chemist
                      Department of Justice                              South Central Laboratory
                      Drug Enforcement Administration                    Dallas, TX
                      Office of Forensic Science



                                           AREA OF EXPERTISE

 Forensic Discipline
             Seized Drug Analysis

 Expert Testimony
             01/16/2024, El Paso, TX, U.S.A. v. Serrano Galaviz, EP-23-CR-623-DB
             04/17/2024, Albuquerque, NM, U.S.A. v. Octavio Jiminez-Marquez, 1:23-CR-00032 WJ


                                     PROFESSIONAL EXPERIENCE
DRUG ENFORCEMENT ADMINISTRATION
Forensic Chemist, South Central Laboratory, Dallas, TX, 2020-Present
            Analyze evidence for the presence or absence of controlled substances.
            Provide testimony in court as needed.
            Support law enforcement.
Training
            Drug Enforcement Administration (DEA) Basic Forensic Class #18, (Quantico, VA), 2020.
            Drug Enforcement Administration (DEA) Basic Clandestine Laboratory Technician Course
            No. 85, (Quantico, VA), 2022.


Kraev Laboratories, LLC.
Founder/ CEO, New Orleans, LA, August 2014-August 2020
            Managed a team of engineers, scientists, and interns in research and development.
            Developed lubricants for oil and gas recovery.
            Developed the SOPs for routine analysis.


Grambling State University
Assistant Professor, Department of Chemistry, Grambling, LA, August 2017-August 2020
            Instructed general chemistry and organic chemistry lecture and laboratory courses.
            Trained students on Ultraviolet-visible spectroscopy (UV-vis), Gas Chromatography Mass
            Spectrometry (GCMS), and Fourier Transform Infrared Spectroscopy (FTIR) to characterized
            synthesized products.
            Assisted with establishing internship opportunity for forensic chemistry students at the Northwest
            Crime Lab.

Training
            University of Louisiana System (ULS) Management & Leadership Institute, ULS, LA 2019-2020


Dillard University
Visiting Professor, Department of Chemistry, New Orleans, LA, August 2014-May 2017
            Instructed general chemistry, quantitative analysis, and instrumental analysis courses
            Performed maintenance on GC, LC and UV-vis as needed in the laboratory.
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           Developed standard operating procedures (SOPs) for instrumentation in the laboratory.
                                EDUCATION AND CERTIFICATIONS

Louisiana State University, Baton Rouge, LA
            Doctorate of Philosophy, 2014

      Bio-Analytical Chemistry, Dissertation: Reductive Methylation of Proteins towards Structural and Biological
      Applications
Georgia Southern University, Statesboro, GA
            Bachelor of Science, 2007

            Chemistry, American Chemical Society (ACS) Certified


                                   PROFESSIONAL AFFILIATIONS

           National Organization for the Professional Advancement of Black Chemists and Chemical Engineers
           (NOBCChE), Member, 2007-Present
           American Chemical Society, Member, 2003-Present


                                 PRESENTATIONS AND LECTURES

           Kevin J. Roberson, Michelle M. Sweeney, and Megan Macnaughtan. Method to Identify the NMR
           Resonances of the 13C-Methyl N-terminal Amine on Reductively Methylated Proteins. Southwest
           Regional Meeting of the American Chemical Society, Baton Rouge, LA, 2012 Nov.: Poster

           Kevin J. Roberson and Megan Macnaughtan. Mass Spectrometry Assisted Assignment of NMR
           Resonances in Reductively 13C-Methylated Proteins. Analytical Chemistry Seminar, Baton Rouge, LA.
           2012 Nov.: Invite

           Kevin J. Roberson and Megan Macnaughtan. Protecting Agent as a Means to Unambiguously Assign
           13C-Methyl NMR Resonances. Southeast Magnetic Resonance Conference. Gainesville, FL. 2010

           Oct.: Poster

           Kevin J. Roberson and Megan Macnaughtan. Breaking the Degeneracy of Reductive 13C-Methylation
           of Proteins for NMR Assignment. Summer in Biophysics at UT/ORNL: Computatiional and
           Experimental Challenges. Knoxville, TN. 2010 July: Poster




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